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                                                    COOLIT SYSTEMS, INC., and Defendants
12                                                  COOLIT SYSTEMS USA INC., COOLIT
                                                    SYSTEMS ASIA PACIFIC LIMITED, COOLIT
13                                                  SYSTEMS (SHENZHEN) CO., LTD., CORSAIR
                                                    GAMING, INC. and CORSAIR MEMORY, INC.
14

15                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
16                                SAN FRANCISCO DIVISION
17   ASETEK DANMARK A/S,                               CASE NO. 3:19-cv-00410-EMC
18                       Plaintiff and                 JOINT STATEMENT REGARDING
                         Counterdefendant,             COLLATERAL ESTOPPEL AND
19                                                     JUDICIAL ESTOPPEL DEFENSES
                  v.
20
     COOLIT SYSTEMS, INC.,
21
                         Defendant and
22                       Counterclaimant,
23   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED, COOLIT
24   SYSTEMS (SHENZHEN) CO. LTD.
25                       Defendants,
26   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.,
27
                         Defendants.
28

                                                                                                 STIPULATION
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 1           Pursuant to the Court’s orders at the October 7 and 21, 2021 hearings, the parties have met and

 2   conferred and hereby submit this joint statement. The parties have agreed that Asetek shall be bound

 3   to the prior litigation positions as stated in Section I below.

 4   I.      Stipulation

 5           The parties hereby stipulate as follows:

 6              1.        The claimed “reservoir” in Asetek’s invention is a single receptacle that is divided

 7                        into an upper chamber and a lower chamber, with the upper chamber providing the

 8                        pumping function and the lower chamber providing the thermal exchange function.

 9              2.        Prior art devices included a pump, a single-chamber reservoir (as that term was

10                        used in the prior art), and a cold plate as separate components that were connected

11                        using tubing or attached together with clips or screws or permanently coupled.

12              3.        Asetek’s patent claims are directed to a liquid cooling device comprising a dual-

13                        chambered reservoir bounded by a heat -exchanging interface.

14   II.     Dispute on Prior Litigation Positions

15           Other than the above, no agreement has been reached, and the parties have set forth their

16   respective positions here in Section II. Asetek also believes that Defendants should be bound to

17   prior positions taken in IPRs against Asetek’s patents, and that Defendants’ arguments about

18   estoppel against Asetek are inconsistent with their prior positions in the IPRs. Defendants disagree

19   with Asetek’s belief as set forth in their statement below.

20   CoolIT’s Statement

21           Under the doctrine of collateral estoppel and/or the broader doctrine of judicial estoppel,
22   Asetek should be bound to its prior prevailing litigation positions. This is because Asetek previously
23   succeeded in convincing the jury that the “upper/pump chamber” and “lower/thermal exchange
24   chamber” in the “reservoir” cannot be separable components, unlike those in prior art such as Ryu.
25   Rather, a single receptacle of the claimed “reservoir” is divided into two chambers; that is, the
26   “upper/pump chamber” and the “lower/thermal exchange chamber” must be contained within the same
27   single receptacle.
28                                                                                                       STIPULATION
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 1          Asetek now attempts to walk back on its prior prevailing positions, even one Asetek expressly

 2   told this Court. The chart below identifies Asetek’s prior positions and corresponding support,

 3   including excerpts of the 2014 Trial Transcript (Exhibit A), 2014 Jury Verdict (Exhibit B), and 2014

 4   Findings of Fact and Conclusion of Law (Exhibit C) from the prior trial record in Asetek Danmark A/S

 5   v. CMI USA, Inc., Case No. 4:13-cv-00457. CoolIT respectfully requests that the Court order Asetek

 6   be bound to these prior prevailing positions or, in the alternative, to grant Defendants’ motion for leave

 7   to amend the answers to include collateral estoppel and judicial estoppel defenses.

 8          A.      Two separate receptacles screwed together cannot form a single
                    receptacle. In Asetek’s claimed invention, the upper/pump chamber and
 9                  the lower/thermal exchange chamber are not separable.
10
      Asetek’s prior position                                Corresponding support
11
      Two separate receptacles     This position was what Asetek expressly told this Court on Oct. 7th:
12    screwed together cannot
      form a single receptacle.    “Your Honor, Asetek would – will be fine signing a stipulation that
13
                                   Asetek is not going to take the position that two separate
14                                 receptacles screwed together can form a single
                                   receptacle.” (October 7, 2021, Hearing Tr. at 29-30, Ms.
15                                 Bhattacharyya (emphasis added).)
16                                 Additionally, Asetek’s expert successfully convinced the jury that the
                                   “reservoir” is a single “receptacle with two chambers in it; not two
17
                                   components that are separable being screwed together”:
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23                                 (Trial Transcript at 1444:13-18 (testimony by Asetek’s expert).)
24
                                   Further, the Jury Verdict and the Court’s Findings of Fact and
25                                 Conclusions of the Law further support holding Asetek to this
26                                 position, as shown below:

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                                                                                                         STIPULATION
                                                         3                               CASE NO. 3:19-CV-00410-EMC
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 1
     Asetek’s prior position                           Corresponding support
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                               (Jury Verdict (ECF No. 219) at 4.)
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                               (2014 Findings of Fact and Conclusions of Law at 8.)
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                               (2014 Findings of Fact and Conclusions of Law at 10.)
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27                             (2014 Findings of Fact and Conclusions of Law at 19.)

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                                                                                                 STIPULATION
                                                   4                             CASE NO. 3:19-CV-00410-EMC
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 1
     Asetek’s prior position                               Corresponding support
 2
     Asetek’s patented            This position is from the Jury Verdict verbatim, which now Asetek is
 3   invention is directed to a   attempting to qualify by ignoring Ryu and other prior art presented at
     closed loop liquid           trial:
 4   cooling system in which
     cooling liquid is pumped
 5   continuously between a
 6   pump head and a heat
     radiator (positioned
 7   remote from the pump
     head). Rather than
 8   connecting together
     multiple separate
 9
     components (as in the
10   prior art), Asetek’s
     patented pump head
11   design combines, into a
     single unit, a pump and
12   the claimed ‘reservoir’
     that has, among other
13
     things, dual chambers
14   and is bounded by a
     removable cold plate.
15

16                                (Jury Verdict (ECF No. 219) at 4.)

17                                During meet-and-confer, Asetek also acknowledged and agreed to this
                                  position in the Jury Verdict:
18
                                       “In advance of our meet and confer tomorrow and in
19                                     response to your various proposals, Asetek agrees that as
                                       stated in the jury verdict:
20
                                       ‘Asetek’s patented invention is directed to a closed loop
21                                     liquid cooling system in which cooling liquid is pumped
                                       continuously between a pump head and a heat radiator
22                                     (positioned remote from the pump head). Rather than
                                       connecting together multiple separate components (as in
23                                     the prior art), Asetek’s patented pump head design
                                       combines, into a single unit, a pump and the claimed
24                                     ‘reservoir’ that has, among other things, dual chambers
                                       and is bounded by a removable cold plate.’”
25
                                  (Exhibit D, October 19, 2021 email from Mr. McCauley.)
26
     In the claimed invention,    Asetek’s expert successfully convinced the jury that the two chambers
27
     the upper/pump chamber       in the reservoir’s single receptacle are not separable and thus cannot
28   and lower/thermal            be physically separated as follows:
     exchange chamber are
                                                                                                      STIPULATION
                                                       5                              CASE NO. 3:19-CV-00410-EMC
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 1
     Asetek’s prior position                           Corresponding support
 2   not separable (and thus
     cannot be physically
 3
     separated).
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 7                             (Trial Transcript at 1444:13-18 (testimony by Asetek’s expert).)
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                               (2014 Trial Transcript at 1447:10-21 (testimony by Asetek’s expert).)
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27                             (2014 Trial Transcript at 1508:10-19 (testimony by Asetek’s expert);
                               see also 2014 Findings of Fact and Conclusions of Law at pp. 19-20
28                             (including any testimony cited by the Court).)

                                                                                                  STIPULATION
                                                   6                              CASE NO. 3:19-CV-00410-EMC
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 1
     Asetek’s prior position                           Corresponding support
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10                             (2014 Trial Transcript at 1570:6-15 (testimony by Asetek’s expert).)

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23                             (2014 Trial Transcript at 1697:4-18 (testimony by Asetek’s expert).)

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                               Further, the Jury Verdict and the Court’s Findings of Fact and
25                             Conclusions of the Law further support holding Asetek to this
                               position, as shown below:
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                                                                                                  STIPULATION
                                                   7                              CASE NO. 3:19-CV-00410-EMC
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 1
     Asetek’s prior position                            Corresponding support
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                               (2014 Jury Verdict at 4.)
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19                             (2014 Findings of Fact and Conclusions of Law at 19.)

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                               (2014 Findings of Fact and Conclusions of Law at 20; see also 2014
25
                               Trial Transcript 1507-1508, 1570 (testimony by Asetek’s expert).)
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                                                                                                STIPULATION
                                                    8                           CASE NO. 3:19-CV-00410-EMC
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 1         B.     An “upper/pump chamber” and a “lower/thermal exchange chamber”
                  cannot be separable components screwed together, plugged or put
 2                together, or otherwise connected by tubing to become a single receptacle
 3                of the claimed “reservoir.”

 4   Asetek’s prior positions                             Corresponding support
 5   The claimed “reservoir”     This statement clarifies that the “single receptacle” in the claimed
 6   is a single receptacle      “reservoir” cannot comprise an “upper/pump chamber” and a
     with dual chambers in it.   “lower/thermal exchange chamber” as separable components being
 7   It is not two components    screwed together.
     (i.e., an “upper/pump
 8   chamber” component
     and a “lower/thermal
 9
     exchange chamber”
10   component) that are
     separable being screwed
11   together.

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13                               (2014 Trial Transcript at 1444:13-18 (testimony by Asetek’s
                                 expert).).)
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26                               (2014 Jury Verdict at 4.)

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                                                                                                     STIPULATION
                                                      9                              CASE NO. 3:19-CV-00410-EMC
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 1
     Asetek’s prior positions                             Corresponding support
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 6                               (2014 Findings of Fact and Conclusions of Law at 8.)

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                                 (2014 Findings of Fact and Conclusions of Law at 10.)
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16                               (2014 Findings of Fact and Conclusions of Law at 19.)

17
     Two separate receptacles    This statement also clarifies that an “upper/pump chamber” and a
18   or components (i.e., an     “lower/thermal exchange chamber” as separate receptacles or
     “upper/pump chamber”        components cannot be plugged together or put together to become a
19   component and a             “single receptacle” of the claimed “reservoir” with two chambers
     “lower/thermal exchange     inside the “single receptacle.”
20   chamber” component)
21   that are plugged together
     or put together do not
22   become a single
     receptacle with two
23   chambers inside it.
24

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26
                                 (2014 Trial Transcript at 1522:5-11 (testimony by Asetek’s expert).)
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                                                                                                    STIPULATION
                                                     10                             CASE NO. 3:19-CV-00410-EMC
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 1
     Asetek’s prior positions                            Corresponding support
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                                (2014 Trial Transcript at 1530:13-19 (testimony by Asetek’s expert).)
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13                              (2014 Findings of Fact and Conclusions of Law at 8.)

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18                              (2014 Findings of Fact and Conclusions of Law at 19.)

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                                (2014 Findings of Fact and Conclusions of Law at 22.)
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25   Two separate               This statement similarly clarifies that two separate “upper/pump
     upper/pump chamber and     chamber” and “lower/thermal exchange chamber” connected by tubing
26   lower/thermal exchange     are separate components that cannot satisfy the “single receptacle” of
     chamber connected by       the claimed “reservoir” containing two chambers inside the “single
27   tubing are separate        receptacle.”
     components and do not
28
     satisfy a reservoir’s
                                                                                                   STIPULATION
                                                    11                             CASE NO. 3:19-CV-00410-EMC
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 1
       Asetek’s prior positions                                Corresponding support
 2    single receptacle
      containing two chambers
 3
      inside it.
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                                    (2014 Trial Transcript at 1445:10-23 (testimony by Asetek’s expert).)
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                                    (2014 Findings of Fact and Conclusions of Law at 20.)
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21           C.      Asetek should be held to its prior positions, regardless of Asetek’s new
                     infringement theories on CoolIT’s new design.
22
             Asetek raises the specter of “context” to try to explain away its shifting interpretations of its
23
     own patents, but this precisely illustrates why estoppel exists and why the Court should resolve the
24
     issue now. Asetek’s arguments that it should be permitted to change its interpretation in every new
25
     “context” would make the doctrines of collateral estoppel and judicial estoppel meaningless. Asetek
26
     should be held to its prior litigation positions identified in the Sections above, or in the alternative, the
27
     Court should grant Defendants’ motion to amend the answers to include the defenses of collateral and
28
     judicial estoppel. The positions stated in the Sections above are based on the indisputable trial record.
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 1   Specifically, Asetek took the position that its claimed “reservoir” requires a single receptacle divided

 2   into a functional pump chamber and a functional thermal exchange chamber within the single

 3   receptacle. The pump chamber and the thermal exchange chamber thus cannot be two separable

 4   components screwed together.

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     (2014 Trial Transcript at 1444:13-18 (testimony by Asetek’s expert).)
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24   (2014 Trial Transcript at 1447:10-21 (testimony by Asetek’s expert).)

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                                                                                                       STIPULATION
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15   (2014 Jury Verdict at 4.)

16          Asetek cannot erase the fact that it referred to its claimed “reservoir” as having a single

17   receptacle divided into a functional “upper/pump chamber” and a functional “lower/thermal exchange

18   chamber” within the single receptacle, regardless of Asetek’s new infringement theories on CoolIT’s

19   new design. Asetek’s arguments on pages 28-40 below attempt to sow confusion by arguing that what

20   Asetek meant when it said “component” in comparing the prior art’s upper/pump chamber component

21   and lower/thermal exchange chamber component with Asetek’s claimed single-receptacle “reservoir”

22   somehow meant something else. Asetek’s shifting theories as to what its patents cover is why it must

23   be estopped from telling the Court and the jury one thing, having the Court and the jury rely on that,

24   and then changing its “interpretations” as the “context” demands.

25          Tellingly, Asetek attempts to distance its new infringement theories from its prior positions by

26   relabeling the separable upper/pump chamber component and lower/thermal exchange chamber

27   component in CoolIT’s new design as “subcomponents” rather than “components,” and by arguing

28   that, even though the separable upper/pump chamber component and lower/thermal exchange chamber

                                                                                                      STIPULATION
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 1   component in the new design can be physically separated but are screwed together in an assembly,

 2   they are somehow “subcomponents” within a single receptacle. But whatever disputes the parties will

 3   have over the meaning of “components” and “subcomponents,” the Court need not decide them at this

 4   juncture while still holding Asetek to the positions and language Asetek used in the CMI case.

 5   Nonetheless, to avoid unnecessary confusion, CoolIT responds to Asetek’s arguments below.

 6
                                                                                          upper/
 7          Asetek’s claimed inventions: Asetek’s                                         pump chamber
 8   claimed inventions require a single receptacle

 9   “reservoir.” An example is shown in the figure

10   (to the right) from Asetek’s patents (depicting a

11   reservoir 14, containing within it upper/pump

12   and lower/thermal exchange chambers, and also

13   showing a chip 1 to be cooled).                             lower/
14                                                               thermal exchange
                                                                 chamber
15

16          CoolIT’s new design: Unlike Asetek’s claimed inventions, CoolIT’s new design (below) has

17   two separable functional chambers—the upper/pump chamber and the lower/thermal exchange
18   chamber—that are connected
19   via tubing (gasket) and are
20   screwed together. Therefore,
21   there is no single receptacle
22   “reservoir” divided into a
23   functional “upper / pump                                            Tubing
                                                                         (gasket)
24   chamber” and a functional
25   “lower / thermal exchange
26   chamber.”
27

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                                                                                                    STIPULATION
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 1          Asetek disagrees, and argues that the “top chamber” in CoolIT’s new design is a

 2   “[s]ubcomponent” “nestled” within a “reservoir housing”:

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            But this argument is both incorrect1 and irrelevant. This is because the surrounding walls of
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     the so-called “reservoir housing” within which the “top chamber” is allegedly “nestled” are merely for
16
     cosmetic purposes. These walls just avoid a visually displeasing parting line between the upper/pump
17
     chamber component and the lower/thermal exchange chamber component appearing on the outside of
18
     the device, and do not serve any pumping function and, in fact, do not even touch any liquid. It is
19
     important to note that the “reservoir” corresponds to a “single receptacle defining a fluid flow path”
20
     containing two fluidly functioning chambers, and is not merely a “housing” to house components as
21
     incorrectly characterized by Asetek’s expert. As CoolIT’s expert will explain in his report (to be
22
     served on December 8), if the walls surrounding the purported “top chamber” are removed (colored
23
     in light blue on the below-left), the device will function fluidly just the same, as shown below:
24

25

26

27          1
              The pump chamber is also not “nestled” in the “reservoir housing” for at least the following
     reasons: the pump chamber includes a portion of the pump volute (shown) and the pump stator (not
28   shown) that is above the alleged “reservoir housing,” and the pump chamber is not enclosed by a
     separate top surface of the housing.
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12          As shown above right and below left, the new design does not need the walls surrounding the
13   upper/pump chamber component to function fluidly, which are dry and serve no fluid related function
14   during operation. That is, CoolIT’s new design simply does not have a single receptacle divided into
15   a fluidly functional upper/pump chamber and a fluidly functional lower/thermal exchange chamber.
16   Rather, there are separable functional pump and thermal exchange chambers being connected by
17   tubing (gasket) and screwed together (below right).
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23      Tubing
        (gasket)
24

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                                                                                                    STIPULATION
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 1          Prior art: Asetek also argues in its section below that statements it made to distinguish its

 2   claimed invention from the prior art, including in the jury verdict, are limited to the prior art identified

 3   in the figures in its patents. Not so. As the trial record, including the Findings of Fact, clearly

 4   demonstrate, Astetek repeatedly distinguished its claimed invention from prior art such as Ryu, which

 5   had two separable pump and thermal exchange components.

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11   (2014 Findings of Fact and Conclusions of Law at 8.)
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17   (2014 Findings of Fact and Conclusions of Law at 19.)

18          In Ryu, the pump drive 30 corresponds to the claimed “upper/pump chamber” and the water

19   jacket 20 to the “lower/thermal exchange chamber.”

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                                                                                                           STIPULATION
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 1          As can be seen above, and as testified by Asetek’s expert (and cited by the trial court in the

 2   2014 Findings of Fact and Conclusions of Law at 20), there are two possible configurations in Ryu,

 3   but they are the same in having two separate and separable components:

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19   (Trial Transcript at 1445:10-23 (testimony by Asetek’s expert).) Asetek’s expert made clear that in
20   either configuration, Ryu has an “upper/pump chamber” component and a “lower/thermal exchange
21   chamber” component that are separable and thus can be physically separated:
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                                                                                                     STIPULATION
                                                      19                             CASE NO. 3:19-CV-00410-EMC
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     (2014 Trial Transcript at 1522:5-25 (testimony by Asetek’s expert).) As Asetek’s expert expressly
24
     made clear, unlike Asetek’s purported invention, the two receptacles in Ryu “can be placed apart and
25
     connected together, like with tubing, or they can be placed directly on top of each other and screwed
26
     together or laminated, bonded together, what-have-you.” And as explained above on pages 15-17,
27
     CoolIT’s new design similarly has two receptacles that are placed on top of each other, connected
28
     together with tubing, and screwed together.
                                                                                                     STIPULATION
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 1
            Asetek’s argument that the two receptacles in CoolIT’s new design will not function after they
 2
     are separated is incorrect. As an initial matter, CoolIT’s two receptacles are already separated and
 3
     connected via tubing with screws, as discussed above. The two receptacles can also continue to
 4
     function even if they are further spatially separated with properly extended tubing to connect them,
 5
     just like Ryu’s second embodiment in Fig. 2(b). As discussed above, Asetek’s expert pointed out Ryu
 6
     had two configurations – one with the two receptacles stacked directly on top of each other (Fig. 2(a)
 7
     at below left) and the other with the two receptacles spatially separated but connected via tubing (Fig.
 8
     2(b) at below right), both of which are distinct from Asetek’s purported invention:
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14
                                                        Spatial
15                                                     Separation

16

17                                                      Tubing

18

19   (Ryu’s Fig. 2 (annotated to show separation of the pump drive 30 and the water jacket 20 that are then

20   connected via tubing).) To the extent Asetek’s argument is that CoolIT’s two receptacles do not

21   function if they are fully assembled in a complete product and then separated without tubing,

22   effectively destroying the product, the same applies to Ryu. Asetek’s argument is preposterous

23   because Ryu’s two receptacles also will not function if spatially separated without tubing.

24          In sum, while this is a disputed issue that the Court does not need to resolve right now, CoolIT’s
25   new design has structures that are functionally no different from Ryu’s separable receptacles or
26   chambers. As Asetek’s expert pointed out, “[i]t doesn’t matter” whether two receptacles or chambers
27   are stacked on top of each other or spatially separated but connected via tubing because “[t]hey’re still
28   two separate components.” (2014 Trial Transcript at 1522:9-25 (testimony by Asetek’s expert).)
                                                                                                        STIPULATION
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 1          D.      CoolIT should not be subject to collateral or judicial estoppel.
 2          Faced with its own previous statements, Asetek now resorts to arguing that statements CoolIT
 3   made, that were not part of any judgment, should be cherry picked and held against CoolIT. The Court
 4   should not entertain Asetek’s gamesmanship for several reasons.
 5          First, Asetek never moved to add collateral and judicial estoppel defenses to the case, and the
 6   Court’s instructions at the October 7 and October 21 hearings were specific to the parties submitting
 7   a joint paper regarding Asetek’s prior litigation positions on its own patents. Asetek has filed an
 8   opposition to Defendants’ Motion for Leave to Amend, but has the gall here to argue that it does not
 9   have to abide by the Court’s rules and move for leave to amend as CoolIT has.
10          Second, the fact that the primary references relied on in CoolIT’s IPRs—Duan and
11   Batchelder—have a “reservoir” was never a disputed issue in the proceedings. Asetek never disputed
12   that these references satisfy the “reservoir” limitation. Rather, the disputes in the IPRs concerned
13   other claim limitations or issues. Therefore, none of the alleged inconsistencies in the statements that
14   Asetek identifies below involves “an issue necessarily decided at the previous proceeding” (collateral
15   estoppel) or an issue that CoolIT “succeeded in persuading a court to accept” (judicial estoppel).
16          Moreover, CoolIT’s positions in its IPRs are consistent with the positions it is taking in the
17   district court litigation. Asetek mischaracterizes CoolIT’s statements and takes them out of context.
18   CoolIT has consistently taken the position that the claimed “reservoir” in Asetek’s patents must be a
19   “single receptacle” that includes both the “upper/pump chamber” and the “lower/thermal exchange
20   chamber” within the “single receptacle.” That is, the claims of Asetek’s patents do not permit an
21   “upper/pump chamber” component and a “lower/thermal exchange chamber” component that are
22   separable to be contained in the “single receptacle” of the “reservoir.” This position is entirely
23   consistent with the jury verdict in the CMI case: “[T]he claimed ‘reservoir’ in Asetek’s invention is
24   a single receptacle that is divided into an upper chamber and a lower chamber with the upper
25   chamber providing the pumping function and the lower chamber providing the thermal exchange
26   function.” But this position does not mean that other components cannot be added or made part of the
27   reservoir. In fact, the claim language of the ’355 makes clear that other components can be part of the
28   “reservoir.” For example, claim 1 of the ’355 includes the following claim elements: “the reservoir

                                                                                                       STIPULATION
                                                       22                              CASE NO. 3:19-CV-00410-EMC
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 1   including: a pump chamber housing an impeller and defined at least in part by an impeller cover and

 2   a double sided chassis, the impeller being positioned on one side of the chassis and a stator of the

 3   pump is positioned on an opposite side of the chassis.” As can be seen, there are multiple components

 4   that are included in the pump chamber of the “reservoir,” having at least additionally “an impeller,”

 5   an “impeller cover,” and a “double-sided chassis.”

 6          CoolIT’s mapping of Duan and Batchelder to the “reservoir” limitation likewise points to a

 7   structure, while containing other components, includes a single receptacle that is divided into an

 8   “upper/pump chamber” and a “lower/thermal exchange chamber” within the single receptacle. As the

 9   claim language makes clear, however, the reservoir can include other components. The single

10   receptacles of Duan’s and Batchelder’s respective reservoirs that each contain an “upper/pump

11   chamber” and a “lower/thermal exchange chamber” within a “single receptacle” is shown in the

12   following figures (within the teal outlines).

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                                                                                                     STIPULATION
                                                      23                             CASE NO. 3:19-CV-00410-EMC
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 1

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 3

 4

 5                “single receptacle”
                     of “reservoir”
 6

 7

 8        “upper/pump chamber”
 9

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12
                                              “lower/thermal exchange chamber”
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26                                                        “single receptacle” of
                                                               “reservoir”
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                                                                                   STIPULATION
                                        24                         CASE NO. 3:19-CV-00410-EMC
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 1           Asetek points to isolated statements in CoolIT’s IPR petitions that merely noted the prior-art

 2   reservoirs had multiple components, which as discussed above, is permissible as exemplarily shown

 3   by claim 1 of the ’355 patent (reciting a “reservoir” including additionally at least an “impeller,” an

 4   “impeller cover,” and a “double-sided chassis”). Thus, CoolIT’s statements are consistent with the

 5   meaning of “reservoir” requiring a “single receptacle defining a fluid flow path,” and do not negate

 6   the fact that the claim language of the Asetek patents has the further requirement that within the single

 7   receptacle of the reservoir there must also be a functional pump chamber and a functional thermal

 8   exchange chamber, as further explained below.

 9           Based on the agreed-upon constructions, the overall claim language, and the prior 2014 trial

10   records, Asetek’s claimed “reservoir” must meet the following four separate requirements:

11           (1) having a “receptacle defining a fluid flow path”;
12           (2) the “receptacle” being “single”;
13           (3) having an “upper/pump chamber” and a “lower/thermal exchange chamber”;
14           (4) the two “chambers” being within the “receptacle.”
15           During the IPR proceedings, CoolIT separately addressed one or more of these four “reservoir”
16   requirements in various places. In each place, CoolIT identified and discussed all of the disclosures
17   or teachings it could find in the prior art regarding one or more of the particular requirements. But in
18   each identification and discussion, the particular disclosures or teachings did not necessarily meet all
19   four requirements of the “reservoir” at the same time. Rather, they were meant to show only the
20   requirements at issue in that particular place.
21           For example, within respect to Shin, CoolIT never stated that Shin disclosed or taught the
22   requirement (2) of the “reservoir” being “single.” Rather, CoolIT merely stated that Shin’s structures
23   that it interpreted as a prior-art reservoir disclosed or taught requirements (1), (3) and (4) of the claimed
24   “reservoir” (i.e., having a receptacle containing an upper chamber and a lower chamber) as follows:
25
             Shin also discloses a reservoir (e.g., an integrated structure) for providing liquid
26           cooling of computing components: “the pump is secured to the top part of the liquid
             cooled heat sink, forming a structure that allows the pump and liquid cooled heat
27
             sink to be handled as an integral structure.” (Ex. 1007 at [0008].)
28

                                                                                                           STIPULATION
                                                          25                               CASE NO. 3:19-CV-00410-EMC
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 1          … Based on these disclosures, a POSITA would understand that Shin discloses a
            reservoir (e.g., a receptacle containing a heat sink 4, flexible hose 6, coolant
 2          discharge section coupler 7, water supply coupler 9, and impeller case 11)
            configured to circulate a cooling liquid therethrough. (Ex. 1003 at ¶¶56-59.)
 3

 4
     (IPR2020-00523 Petition (regarding the ’354 patent), at 12-14.) As can be seen above, CoolIT merely
 5
     stated that Shin’s structures disclosed or taught a receptacle that included an upper chamber (e.g.,
 6
     impeller case 11), a lower chamber (e.g., heat sink 4), and other additional components. That is,
 7
     CoolIT identified and discussed Shin’s structures as meeting only the requirements (1), (3), and (4) of
 8
     the claimed “reservoir.” CoolIT never stated that the receptacle in Shin was “single” as in the
 9
     requirement (2) of Asetek’s claimed “reservoir” and, therefore, disclosed a single receptacle defining
10
     a fluid flow path, that also contained a pump chamber and a thermal exchange chamber within tha
11
     single receptacle. Rather, CoolIT used Batchelder, whose Figure 2 disclosed or taught the “single
12
     receptacle” requirement (2) of the claimed “reservoir,” as the primary reference and combined it
13
     with Shin.
14
            Asetek misleadingly and selectively quoted CoolIT’s expert to create the incorrect impression
15
     that he somehow admitted that Shin disclosed a “reservoir” as meeting the “single” requirement (2)
16
     discussed above.    But the reality is completely the opposite because CoolIT’s expert actually
17
     responded to Asetek’s counsel during deposition that he “wouldn’t consider Figure 1 of Shin to
18
     constitute a reservoir the way you have defined it as a single receptacle defining a fluid flow path.”
19
     (Ex. K (36:4-7 (emphasis added); see also id. 36:17-18 (“I do not consider Shin to have disclosed a
20
     reservoir [as having a single receptacle].”)) In conclusion, CoolIT’s expert clarified that while his
21
     “declaration defines reservoir as a single receptacle defining a fluid flow path[,]” he “didn’t view Shin
22
     in and of itself as a single receptacle.” (Id. 81:1-4.) All in all, considering the IPR2020-00523 petition
23
     (that included the Batchelder and Shin references) as a whole, and not just the figures or statements
24
     each in isolation that Asetek cited misleadingly and selectively, the only embodiment that CoolIT ever
25
     stated disclosed or taught all four “reservoir” requirements was the active spreader plate 20 in a red
26
     box annotated in Figure 2 of Batchelder, as follows:
27
            This active spreader plate 20 is a single, unitary receptacle and defines a fluid
28          flow path (60). (See Ex. 1003 at ¶54; Ex. 1006 at 5:26-28 (“In the most preferred
            embodiment the impeller (54) is a centripetal or centrifugal pump that impels the
                                                                                                         STIPULATION
                                                        26                               CASE NO. 3:19-CV-00410-EMC
     Case 3:19-cv-00410-EMC Document 342 Filed 11/23/21 Page 27 of 48




 1      heat transfer fluid to circulate as indicated (60) …”).) The following annotated
        version of FIG. 2 illustrates reservoir (e.g., active spreader plate 20) outlined by
 2      the red box:
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14       (Id. at FIG. 2 (emphasis added).) … As discussed above, the parties agree that
15      “chamber” should be construed as a “compartment within the reservoir.” (Ex.
        1005 at 2.) Batchelder discloses this limitation as construed in the following
16      annotated [Figure 2]:

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                                                                                                     STIPULATION
                                                    27                               CASE NO. 3:19-CV-00410-EMC
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 1   (IPR2020-00523 Petition (regarding the ’354 patent), at 11-12, 16-17 (yellow highlighting added).)

 2   As can be seen above, only the red box annotated on Figure 2 of Batchelder was identified and

 3   discussed as meeting all four “reservoir” requirements. Contrary to Asetek’s misleading citation to

 4   Figures 7 and 8 of Batchelder in isolation, CoolIT’s petition never stated that those figures disclosed

 5   or taught a “single receptacle” of the claimed “reservoir.” As shown above, CoolIT’s petition only

 6   identified and discussed what was in the red box in Figure 2 of Batchelder as disclosing and teaching

 7   a “single receptacle,” which also included the “upper chamber” and the “lower chamber.”

 8

 9   Asetek’s Statement

10          In addition to the stipulated points 1-3 in section I above, Asetek is also willing to be bound
11   by the following points 4 and 5 as stated below, but Defendants have refused:
12              4. With the clarification that the phrase “connecting together multiple separate components
13              (as in the prior art)” means connecting a separate prior art pump, a separate prior art
14              reservoir, and a separate prior art heat exchanger by tubing, as stated in point 2 in Section
15              I, and as shown in prior art Figure 3 of the Asetek patents, Asetek agrees to be bound by
16              the position: “Asetek’s patented invention is directed to a closed loop liquid cooling system
17              in which cooling liquid is pumped continuously between a pump head and a heat radiator
18              (positioned remote from the pump head). Rather than connecting together multiple separate
19              components (as in the prior art), Asetek’s patented pump head design combines, into a
20              single unit, a pump and the claimed ‘reservoir’ that has, among other things, dual chambers
21              and is bounded by a removable cold plate.” Asetek does not agree that the above stipulation
22              precludes Asetek from arguing that the claimed “reservoir” can include multiple separate
23              subcomponents.
24              5. With the clarification that Asetek does not agree that CoolIT’s Tamriel I and Tamriel II
25              prototypes, also referred to as the “new design” pump heads, include separate receptacles,
26              Asetek agrees to be bound by the position: “Two separate receptacles screwed together
27              cannot form a single receptacle.”
28

                                                                                                       STIPULATION
                                                       28                              CASE NO. 3:19-CV-00410-EMC
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 1           1. Defendants’ estoppel positions are an overreach based on cherry-picked statements by
             Asetek’s expert that are divorced from the context in which his testimony was provided.
 2
            Asetek is not taking positions in this case that are inconsistent with its positions in the Asetek
 3
     Danmark A/S v. CMI USA, Inc. case. As shown in Section I above, Asetek is willing stipulate to certain
 4
     facts and positions in the jury verdict and in Judge Tigar’s Findings of Facts and Conclusions of Law
 5
     and has tried to reach agreement with Defendants on appropriate additional stipulations. In that regard,
 6
     Asetek is also willing to stipulate to two additional positions (points 4 and 5 stated above) with the
 7
     noted clarifications. (See discussion in chart below). Defendants’ refusal to accept these reasonable
 8
     clarifications is unreasonable and demonstrates their overreach with the estoppel positions as
 9
     explained below.
10
            With regard to the other alleged positions Defendants attribute to Asetek, Defendants’
11
     characterizations of the record and/or Asetek’s positions in prior litigations are inaccurate, omit critical
12
     context, and are incomplete. For example, in the prior litigation, both Asetek’s expert and Judge
13
     Tigar’s Findings of Fact/Conclusions of Law (“FoF/CoL”) stated that in a “reservoir,” if one separates
14
     the upper/pump and lower/thermal exchange chambers, the unit will not function. See supra, pp. 6-8
15
     (noting that unlike Ryu, the claimed reservoir would become nonfunctional if the upper/pump and
16
     lower/thermal exchange chambers were separated). And in this case, Asetek’s infringement expert
17
     report consistently explains that the accused Tamriel prototypes include a reservoir because, among
18
     other things, the prototypes would become non-functional if the two chambers were separated (by
19
     unscrewing them from one another or sawing them apart). Asetek’s expert’s opinion in this case is
20
     thus fully consistent with the complete testimony and FoF/CoL from the prior litigation. Defendants’
21
     estoppel arguments, however, crop and mischaracterize the full testimony and FoF/CoL from the prior
22
     litigation in an attempt to prevent Asetek’s expert from presenting his consistent opinion in this case.
23
     For example, Defendants erroneously contend that whether a structure is a “reservoir” turns only on
24
     whether the upper/pump chamber and the lower/thermal exchange chamber can be physically
25
     separated, arguing that the Tamriel is not a reservoir because its upper and lower chambers can be
26
     separated, but that is a cropped mischaracterization of the test that was applied in the prior litigation
27
     by Asetek’s expert and Judge Tigar. Defendants ignore that Asetek’s expert and Judge Tigar’s
28
     FoF/CoL focused on not just whether the chambers could be separated or not, but on whether the
                                                                                                           STIPULATION
                                                         29                                CASE NO. 3:19-CV-00410-EMC
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 1   upper/pump chamber and the lower/thermal exchange chamber, and the device as a whole, would

 2   become non-functional if the chambers were physically separated. See supra, pp. 6-8. As Asetek’s

 3   expert explained in his expert report, the physical separation and reconnection of Ryu’s pump driving

 4   unit 30 and water jacket 20 would not destroy the functionality/operability of the Ryu device because

 5   pump driving unit 30 and water jacket 20 are independent, modular devices that can be reconnected

 6   by tubing, but the same is not true of the Tamriel prototypes. Defendants disagree, but the similarities

 7   and differences between Ryu and the Tamriel prototypes and whether the devices would remain

 8   functional following physical separation are fact issues that must be decided by the jury following

 9   expert testimony. Asetek should not be estopped without giving Asetek’s expert an opportunity to

10   explain these differences between Ryu and the Tamriel prototypes.

11          Defendants similarly crop and mischaracterize the full testimony and FoF/CoL from the prior

12   litigation with regard to distinctions over the Ryu reference. For example, Judge Tigar’s FoF/CoL

13   noted that unlike the “reservoir,” Ryu’s receptacles were made of different materials and thus “would

14   not be manufactured as a single piece,” and that Ryu’s two receptacles “can be spatially separated and

15   connected by tubing, yet still meet the functional requirements of the [Ryu] device.” See FoF/CoL at

16   19, 20. There are multiple factors that differentiated the Ryu device from the claimed “reservoir” (with

17   none of them being dispositive by itself), and not just the snippets that Defendants point to in this Joint

18   Statement. Thus, any analysis of whether the Tamriel has a “reservoir” must take into consideration

19   the totality of facts and circumstances that distinguish the claimed “reservoir” from the prior art, as

20   in Asetek’s expert’s report in this case, and not just the isolated statements referenced by Defendants.

21          Furthermore, Defendants are attempting to take statements from the prior litigation out of

22   context, and to unfairly apply estoppel doctrines to bind Asetek to positions that were not at issue in

23   the previous case. In particular, Defendants are mischaracterizing what Asetek’s witnesses meant by

24   the terms “receptacle” and “components” in the prior litigation (which was context dependent).

25   Defendants are attempting to tie Asetek’s hands with those mischaracterizations and exaggerations.

26   For example, Defendants are misconstruing what was meant by “component” in other contexts in an

27   attempt to preclude Asetek from contending that Defendants’ Tamriel prototypes, which were never

28   at issue in any prior litigation, comprise a reservoir made up of multiple components that infringe

                                                                                                          STIPULATION
                                                         30                               CASE NO. 3:19-CV-00410-EMC
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 1   Asetek’s patents. Asetek does not agree that it is precluded from arguing that the claimed “reservoir”

 2   can include multiple separate components or subcomponents, as CoolIT now contends, based on

 3   statements about “components” that were made in different contexts and about prior-art structures

 4   very different from the Tamriel prototypes that are accused of infringement in this action. Accordingly,

 5   Asetek has declined the additional stipulations Defendants proposed. Moreover, Defendants are

 6   attempting to take positions about the meaning of “reservoir” here that are directly contrary to

 7   positions on which they prevailed in the IPRs (explained below), which cannot be permitted.

 8          Importantly, the Court should not lose sight of the fact that Defendants filed a motion to amend

 9   their answers to include estoppel defenses. That dispute has now morphed into this Joint Statement

10   regarding specific terms/statements and disputes never addressed in Defendants’ motion. Defendants’

11   request for estoppel regarding the disputed statements above should be denied for the reasons

12   explained in the chart below and in the discussion that follows the chart. But in any event, Defendants’

13   request for estoppel should not be granted without full briefing, which would give Asetek the

14   opportunity to provide the full contextual backdrop (e.g., for the prior cases, the IPRs, and this case)

15   and expert opinions on these disputed issues.

16    Alleged prior positions     Support                           Asetek’s comment
       disputed by Asetek         Cited by
17                               Defendants
18
      Two separate               pp. 3-4        Contrary to CoolIT’s allegations, Asetek is not “walking
19    receptacles screwed                       back” on positions it expressly told the Court it would
      together cannot form a                    stipulate to at the hearing on CoolIT’s motion. Rather, as
20    single receptacle.                        stated above, Asetek is willing to stipulate to this
                                                position with the understanding, as explained in the
21                                              hearing transcript, that Asetek does not agree that
22                                              CoolIT’s Tamriel I and Tamriel II prototypes, also
                                                referred to as the “new design” pump heads, include
23                                              separate receptacles. Asetek understandably needs to be
                                                sure that such a stipulation will not be mischaracterized
24                                              by Defendants to mean something that Asetek never
                                                intended.
25
                                                Importantly, Asetek’s clarification of this position was
26
                                                expressly discussed in the October 7 hearing in this
27                                              Court:

28                                                   “MS. BHATTACHARYYA: Your Honor, Asetek
                                                      would -- will be fine signing a stipulation that
                                                                                                       STIPULATION
                                                        31                             CASE NO. 3:19-CV-00410-EMC
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 1   Alleged prior positions    Support                        Asetek’s comment
      disputed by Asetek        Cited by
 2                             Defendants
 3
                                                Asetek is not going to take the position that two
 4                                              separate receptacles screwed together can form a
                                                single receptacle.
 5                                                    There is difference of opinion on what a
                                                ‘receptacle’ really means. Asetek’s expert
 6                                              disagrees that certain parts, which Asetek's
                                                expert calls subcomponents, those are not
 7
                                                receptacles. So ultimately, it comes down -- will
 8                                              come down to whether a part is a subcomponent
                                                or a receptacle or something. But Asetek’s expert
 9                                              has already said he's not going to take the position
                                                that two or more receptacles can form a single
10                                              receptacle. His expert report already says that. So
                                                Asetek is willing to agree to a stipulation on the
11
                                                point that Mr. Chen has raised.”
12

13                                              Ex. J (October 7 Hearing Transcript), 29:23-30:11
                                                (emphasis added).
14
                                            Defendants’ refusal to accept this reasonable clarification
15                                          demonstrates that Defendants are planning to
16                                          mischaracterize any stipulation to try to estop Asetek
                                            from presenting expert testimony on the meaning of
17                                          “receptacle” to those skilled in the art and whether the
                                            accused devices have one or more “receptacles.”
18
                              p. 5          As stated above, Asetek is willing to stipulate to this
19   Asetek’s patented
                                            position with the clarification that the phrase “connecting
     invention is directed to
20   a closed loop liquid                   together multiple separate components (as in the prior
                                            art)” in the jury verdict means connecting a separate
     cooling system in which
21                                          prior art pump, a separate prior art reservoir, and a
     cooling liquid is
                                            separate prior art heat exchanger by tubing, as stated in
     pumped continuously
22                                          point 2 in Section I above, and as shown in prior art
     between a pump head
                                            Figure 3 of the Asetek patents, and that this statement
23   and a heat radiator
                                            does not preclude Asetek from arguing that the claimed
     (positioned remote from
24                                          “reservoir” can have multiple separate subcomponents.
     the pump head). Rather
     than connecting
25                                          Specifically, in a meet and confer between counsel on
     together multiple                      November 10, Defendants’ counsel insisted that the
26   separate components (as                phrase “[r]ather than connecting together multiple
     in the prior art),                     separate components (as in the prior art)” precluded
27   Asetek’s patented pump                 Asetek from arguing that the claimed “reservoir” can
     head design combines,                  have multiple components or subcomponents. Asetek’s
28   into a single unit, a                  counsel disagreed and explained that the referenced
                                                                                                   STIPULATION
                                                   32                              CASE NO. 3:19-CV-00410-EMC
       Case 3:19-cv-00410-EMC Document 342 Filed 11/23/21 Page 33 of 48




 1   Alleged prior positions    Support                        Asetek’s comment
      disputed by Asetek        Cited by
 2                             Defendants
 3
     pump and the claimed                   statement in the jury verdict was about the prior art
 4   ‘reservoir’ that has,                  Figure 3 in Asetek’s patents, and that when the statement
     among other things,                    is read as a whole and in the context of the surrounding
 5   dual chambers and is                   testimony, it means Asetek’s invention combines the
     bounded by a                           pump and the claimed “reservoir” (which includes the
 6   removable cold plate.                  cold plate) into a single pump head, unlike the prior art.
                                            This particular statement in the jury verdict is not
 7
                                            relevant to the configuration of the claimed “reservoir.”
 8                                          Rather, this statement is about the overall “pump head
                                            design” which includes a pump and a “reservoir”; this
 9                                          statement is not directly solely to the claimed
                                            “reservoir.”
10
                                            Despite Asetek’s counsel’s clarification during the meet
11                                          and confer, which Defendants’ counsel could not refute,
12                                          Defendants insisted on trying to pin their
                                            mischaracterizations on Asetek. This further
13                                          demonstrates Defendants’ gamesmanship with the
                                            alleged estoppel positions and their intention of taking
14                                          statements in the prior litigation out of context and
                                            twisting the meaning of those statements to suit their
15
                                            current litigation positions.
16
     In the claimed            pp. 5-8      Defendants oversimplify the cited trial testimony and
17   invention, the                         Judge Tigar’s FoF/CoL and disregard important
     upper/pump chamber                     distinctions over the prior art that were noted by Asetek’s
18   and lower/thermal                      expert and in the FoF/CoL. The excerpted testimony and
     exchange chamber are                   the FoF/CoL make clear that in prior art devices, e.g.,
19
     not separable (and thus                Ryu and the Prior Art Figure 3 in Asetek’s patent, the
20   cannot be physically                   upper/pump chamber and the lower/thermal exchange
     separated).                            chamber are not just physically separable components,
21                                          rather they are separate and separable functional
                                            components. That is, Defendants gloss over the fact that
22                                          in the prior litigation, Asetek’s expert and Judge Tigar’s
                                            FoF/CoL noted that the upper/pump and lower/thermal
23
                                            exchange chambers in the prior art devices could be both
24                                          physically separated and still function (unlike Asetek’s
                                            invention). Defendants crop and mischaracterize that
25                                          test by improperly focusing on only the physical
                                            separability of the receptacles (which is only one aspect
26                                          of the analysis and not dispositive).
27
     The claimed “reservoir”   pp. 9-10     Asetek does not disagree that “[t]he claimed ‘reservoir’
28   is a single receptacle                 is a single receptacle with dual chambers in it,” and has
     with dual chambers in                  already stipulated to a similar statement (see Section I,
                                                                                                   STIPULATION
                                                   33                              CASE NO. 3:19-CV-00410-EMC
       Case 3:19-cv-00410-EMC Document 342 Filed 11/23/21 Page 34 of 48




 1   Alleged prior positions     Support                        Asetek’s comment
      disputed by Asetek         Cited by
 2                              Defendants
 3
     it. It is not two                       point 1). Asetek disputes Defendants’ use of the terms
 4   components (i.e., an                    “upper/pump chamber component” and a “lower/thermal
     “upper/pump chamber”                    exchange chamber component” which are ambiguous
 5   component and a                         and were never used in the prior litigation or previously
     “lower/thermal                          in this case. Asetek should not be limited by positions it
 6   exchange chamber”                       did not take in the earlier action. Indeed, Defendants
     component) that are                     have coined the terms “upper/pump chamber
 7
     separable being screwed                 component” and “lower/thermal exchange chamber
 8   together.                               component” for the first time in this Joint Statement to
                                             expand the scope of estoppel beyond the issues that were
 9                                           previously litigated in an attempt to create a
                                             noninfringement position where none exists.
10
                                             As discussed in the row above, Defendants also crop and
11                                           mischaracterize the test applied by Asetek’s expert and
12                                           Judge Tigar’s FoF/CoL in the prior litigation.
                                             Defendants improperly focus only on physical
13                                           separability (which is only one aspect of the analysis and
                                             not dispositive), and overlook that the prior art devices
14                                           had structurally and functionally independent, modular
                                             components (unlike Asetek’s invention). That is,
15
                                             Defendants are improperly attempting to estop Asetek
16                                           from arguing that the accused Tamriel prototypes’
                                             integrated components or subcomponents comprise a
17                                           reservoir where the upper/pump and lower/thermal
                                             exchange chambers will not function if separated. That
18                                           position in this case is fully consistent with Asetek’s
                                             positions and the FoF/CoL in the prior case.
19

20   Two separate               pp. 10-11    Asetek is already willing to stipulate to the position that
     receptacles or                          “two separate receptacles screwed together cannot form a
21   components (i.e., an                    single receptacle” (subject to the clarification about
     “upper/pump chamber”                    Tamriel). See row 1 of this chart. Asetek should not be
22   component and a                         estopped from anything further based on fragments of
     “lower/thermal                          testimony — about components “plugged together” or
23
     exchange chamber”                       “put together” — that are divorced from their
24   component) that are                     surrounding context.
     plugged together or put
25   together do not become                  Asetek further objects to Defendants’ use of the new and
     a single receptacle with                unclear terms “upper/pump chamber component” and a
26   two chambers inside it.                 “lower/thermal exchange chamber component” because
                                             they improperly expand the scope of estoppel beyond
27                                           issues that were previously litigated, as explained above.
28

                                                                                                    STIPULATION
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 1    Alleged prior positions     Support                         Asetek’s comment
       disputed by Asetek         Cited by
 2                               Defendants
 3
                                               Defendants also disregard the testimony and FoF/CoL
 4                                             that that the prior art had two receptacles that are
                                               “separate structural and functional components” that
 5                                             “probably would not be manufactured as a single piece.”
                                               See FoF/CoL at 8, 19. Instead, Defendants are trying to
 6                                             improperly preclude Asetek from arguing that the
                                               claimed “reservoir” can have connected or integrated
 7
                                               components as long as the upper/pump and
 8                                             lower/thermal exchange chamber will not function if
                                               separated. Defendants’ error is compounded by the fact
 9                                             that Defendants took the exact same position (i.e., that a
                                               reservoir can comprise a component that defines an
10                                             upper/pump chamber and another component that
                                               defines a lower/thermal exchange chamber) that they are
11
                                               now trying to estop Asetek from in its IPRs (more on this
12                                             below).

13    Two separate               pp. 11-12     Defendants improperly focus on the phrase “separate
      upper/pump chamber                       components” to try to expand the scope of estoppel, even
14    and lower/thermal                        though the cited portion of the FoF/CoL makes it clear
      exchange chamber                         that “Ryu’s pump chamber and water jacket are not just
15
      connected by tubing are                  separate components, but can be spatially separated and
16    separate components                      connected by tubing, yet still meet the functional
      and do not satisfy a                     requirements of the [Ryu] device, unlike the [claimed]
17    reservoir’s single                       device[.]” FoF/CoL at 20 (emphases added). Defendants
      receptacle containing                    disregard the context and full scope of Judge Tigar’s
18    two chambers in it.                      finding, and instead stitch together isolated phrases from
19                                             Asetek’s expert’s testimony to fabricate positions that are
                                               incorrect when viewed in the context of the relevant prior
20                                             art and surrounding testimony.

21

22          More specifically, Defendants are seeking to limit Asetek based on snippets of testimony
23   regarding the prior art by Asetek’s expert in the prior litigation, divorced from the context in which
24   those statements about the prior art were made. Importantly, Defendants are attempting to use general
25   terms like “component” and “receptacle” that were used in one context to describe certain prior art
26   with a different structure to preclude Asetek from using those same terms — “component” and
27   “receptable” — to prove infringement in the current litigation, even though the meaning of those terms
28   is context-dependent and varies from one system/device to the other.

                                                                                                      STIPULATION
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 1           Defendants’ overreach is exemplified by their position regarding the following statement in

 2   the jury verdict form: “Rather than connecting together multiple separate components (as in the prior

 3   art), Asetek’s patented pump head design combines, into a single unit, a pump and the claimed

 4   ‘reservoir’ that has, among other things, dual chambers and is bounded by a removable cold plate.”

 5   Defendants cite this sentence to argue that the “reservoir” cannot be two components screwed together

 6   or otherwise connected together. But the verdict form does not say that, and Defendants’ spin takes

 7   the verdict form out of context. When the verdict statement is read in its entirety and in the context of

 8   the relevant trial testimony, it is clear that this statement distinguishes Prior Art Figure 3 in Asetek’s

 9   patents (shown below) from Asetek’s claimed invention.2

10           More specifically, this statement in the jury verdict describes prior art liquid cooling systems

11   that had several independent, separate modular components (such as a prior art heat exchanger, a prior

12   art liquid reservoir, a prior art pump, and a prior art heat radiator) that were connected by tubing to

13   form a liquid cooling system. Asetek’s invention, in contrast, combines a pump, a dual-chambered

14   “reservoir,” and a heat exchanging interface (i.e., a cold plate) into a single pump head/unit. Despite

15   this clear contextual meaning, Defendants have isolated the phrase “[r]ather than connecting together

16   multiple separate components (as in the prior art)” from the rest of the statement to argue that Asetek

17   is allegedly estopped from arguing that the claimed “reservoir” can comprise multiple separate

18   components.

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25   2
       Defendants erroneously asserted in their underlying motion to amend their pleadings that Asetek is
     supposedly “running away” from this finding in the jury verdict, which is incorrect as explained
26   during the hearing and herein. In this joint statement, Defendants also incorrectly contend that
     Asetek is supposedly trying to “erase” the fact that the claimed reservoir is a single receptacle
27   divided into a functional upper/pump chamber and a functional lower/thermal exchange chamber
     within the single receptacle. See p. 14 That is also not true; Asetek agrees with that statement about
28   the claimed “reservoir” and has never contended otherwise. Defendants repeated
     mischaracterizations of Asetek’s positions betray the fallacies in Defendants’ arguments
                                                                                                         STIPULATION
                                                        36                               CASE NO. 3:19-CV-00410-EMC
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11          Asetek’s demonstrative slide used with Asetek’s expert’s testimony during the Asetek
12          Danmark A/S v. CMI USA, Inc. trial

13
            Defendants continue with their unreasonable estoppel arguments by cherry-picking statements
14
     made by Asetek’s expert in the context of the structure of the prior art Ryu device. Defendants isolate
15
     certain phrases from the surrounding testimony and the framework provided by Ryu, and attempt to
16
     estop Asetek from using the same or similar wording to demonstrate how CoolIT’s Tamriel designs
17
     infringe Asetek’s patents. This should not be permitted because the terms “component,” “receptacle,”
18
     etc. are general terms and context dependent, and can mean different things in different contexts. The
19
     context in which these terms are used (e.g,, in discussing Ryu, the prior art, or the Tamriel prototypes
20
     accused in this action) is thus critically important. In the context of Ryu, much like prior art Figure 3
21
     in Asetek’s patents, the term “component” or “receptacle” was used to describe structurally and
22
     functionally independent, modular devices. But those general terms have different meanings in the
23
     context of other devices, including the Tamriel prototypes, which do not have structurally and
24
     functionally independent, modular devices. Therefore, Defendants cannot simply label certain
25
     structures as “components” or “receptacles,” and argue that Asetek is estopped from arguing that those
26
     structures are integrated to form the “reservoir” (as they are trying to do here). Rather, the jury must
27
     decide whether an accused design indeed has a “reservoir,” i.e., a single receptacle defining a fluid
28
     flow path.
                                                                                                        STIPULATION
                                                        37                              CASE NO. 3:19-CV-00410-EMC
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 1          Defendants seem to agree that the Court need not decide the meaning of “components” or

 2   “subcomponents” at this juncture, but they nevertheless insist that Asetek should be estopped from

 3   saying that the “reservoir” can have “components” connected together (even through Defendants

 4   argued to the contrary in the IPRs against Asetek’s patents that the “reservoir” can have multiple

 5   components that are integrated to serve as a single receptacle). But Asetek should not be estopped

 6   wholesale from statements using terms like “components” that mean one thing in the context of Ryu

 7   and another in the context of an accused device because there is no inconsistency in Asetek’s positions.

 8   Contrary to Defendants’ allegations, Asetek is not changing its interpretation of the claimed invention

 9   or “shifting theories.” This is demonstrated by Asetek’s willingness to stipulate to reasonable

10   positions, as shown in Section I. Asetek is simply asking that isolated statements by Asetek’s expert

11   to describe the Prior Art Figure 3 or the Ryu device should not be used to recharacterize Asetek’s

12   invention, reconstrue the meaning of “reservoir”/“single receptacle,” or limit the scope of Asetek’s

13   claims, as Defendants are attempting to do. Defendants have provided no case law, nor is Asetek aware

14   of any, to support limiting Asetek’s invention based on statements at trial that are divorced from the

15   context provided by the configuration of the prior-art devices. In particular, Defendants should not be

16   allowed to expand the scope of estoppel by relying on isolated statements by Asetek’s expert regarding

17   the prior art Ryu device, which is structurally and functionally different from the accused Tamriel

18   prototypes (as discussed below). Defendants disagree that Ryu and the Tamriel prototypes are

19   different, but any similarity or difference between Ryu and Tamriel, and particularly whether the

20   Tamriel prototypes have “receptacles” or structurally and functionally independent “components” like

21   Ryu, are fact issues that should properly be decided by the jury following expert testimony. Asetek

22   should not be estopped now before the jury has any opportunity to weigh the similarities or differences

23   between Ryu and the Tamriel prototypes.

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                                                                                                       STIPULATION
                                                       38                              CASE NO. 3:19-CV-00410-EMC
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 1          Defendants’ estoppel positions are an overreach particularly in view of the clear differences

 2   between the Ryu device and the updated Tamriel design that Defendants are planning to

 3   commercialize. As shown below, the updated Tamriel includes a single reservoir housing (shown

 4   below) in which a subcomponent defining a pump volute is fitted in. The subcomponent that is nestled

 5   within the reservoir housing forms the upper/pump chamber of the claimed “reservoir.” The same

 6   reservoir housing also includes the lower/thermal exchange chamber of the “reservoir.”

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                                                                                                    STIPULATION
                                                     39                             CASE NO. 3:19-CV-00410-EMC
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 1          CoolIT’s updated Tamriel design is very much like the reservoir depicted in Asetek’s patents

 2   and distinctly different from Ryu because in Ryu the pump device (pump driving unit 30) and the heat

 3   exchanging device (water jacket 20) are structurally and functionally independent devices that can be

 4   stacked on top of each other in some embodiments or physically separated from one another in other

 5   embodiments. See Figures 2(a) and 2(b) of Ryu (depicted below). In contrast, in the updated Tamriel,

 6   the subcomponent (i.e., impeller cover) forming the upper/pump chamber is nestled within a single

 7   reservoir housing that includes the lower/thermal exchange chamber.3 Unlike in Ryu, the “top

 8   chamber” subcomponent in the Tamriel is not a structurally separate and functionally independent

 9   device like pump driving unit 30 of Ryu. The differences between the prior art Ryu and Tamriel

10   highlight the importance and necessity of context, and why the terms or terminology that Defendants

11   are trying to estop Asetek from using have different meanings in different designs/configurations.

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23   3
       Defendants modify their own design drawings of the Tamriel in page 17 of this Joint Statement to
     argue that if the outer walls of the Tamriel are removed, then the “top chamber” subcomponent
24   would not be nestled in the reservoir housing. But that is not an accurate representation of the
     Tamriel pump head design. In the Tamriel prototype sample provided to Asetek in discovery as well
25   as in the design drawings of the Tamriel that Defendants produced in this case, the “top chamber”
     subcomponent is indeed nestled within the reservoir housing, as shown in the above figures.
26   Defendants also try to create a new requirement that every part of the “reservoir” must receive
     liquid, otherwise it is not a “reservoir” and simply a cosmetic housing. While the “reservoir” defines
27   a fluid flow path therethrough, nothing in the patent specification, claims, or testimony in the prior
     litigation requires liquid to touch every part of the claimed “reservoir.”
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                                                                                                      STIPULATION
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 1                  2. Defendants’ estoppel positions must be juxtaposed with their own contrary
                    positions in the IPRs against Asetek’s position.
 2

 3          Defendants’ non-infringement positions are clearly inconsistent with positions taken in the

 4   IPRs against Asetek’s patent (shown in the chart below). Defendants’ inconsistent statements in the

 5   IPRs, and their post hoc attempt in this Joint Statement to distance themselves from the contrary IPR

 6   statements, highlight the importance of context in determining the scope of estoppel. Specifically,

 7   CoolIT argued in the IPR petitions, with regard to three different prior-art references, that multiple

 8   components — i.e., a component that defines an upper/pump chamber and another separate component

 9   that defines a lower/thermal exchange chamber — can be integrated to serve as a “reservoir,” i.e., a

10   “single receptacle defining a fluid flow path” per the parties’ stipulated construction. Yet, Defendants

11   are attempting to estop Asetek from arguing that “[a]n ‘upper/pump chamber’ and a ‘lower/thermal

12   exchange chamber’ cannot be seperable [sic] components screwed together, plugged or put together,
13   or otherwise connected by tubing to become a single receptacle of the claimed ‘reservoir.’” See Section
14   II.B, above.
15          Defendants’ attempt to distinguish their positions in the IPR are specious. Defendants now
16   argue that the claimed “reservoir” must meet four criteria in this case, but that the same is not true for
17   prior art that Defendants argued in the IPR contained Asetek’s claimed “reservoir” using the
18   parties’ stipulated definition of “reservoir” from this case. See supra, pp. 25-26. Defendants’
19   argument cannot be reconciled with their unequivocal representation to the PTAB that each of the
20   prior art references (Duan, Batchelder, and Shin) comprised the claimed “reservoir.” Defendants’
21   current arguments that the prior art devices they asserted in the IPR had some but not all four
22   “reservoir” requirements fly in the face of the positions Defendants successfully argued to the PTAB,
23   as shown in the chart below, and Defendants’ IPR experts’ testimony that he applied the parties’
24   stipulated construction of “reservoir” from this case and that he opined that Shin’s separate impeller
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                                                                                                         STIPULATION
                                                        41                               CASE NO. 3:19-CV-00410-EMC
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 1       case 11 (alleged “upper chamber”) and heat sink 4 (alleged “lower chamber”) formed the claimed

 2       “reservoir.” Ex. K (Hodes Dep. Tr.) at 35:10-15, 54:1-60:12.4

 3             Defendants should be judicially estopped from taking positions that contradict their positions

 4   in the IPRs that successfully invalidated Asetek’s claims.5 To find otherwise would be grossly unfair

 5   and highly prejudicial to Asetek.

 6              CoolIT’s prior                               Corresponding support
            positions in the IPRs
 7         against Asetek’s ’354
               and ’355 patent
 8
           Multiple components         Petition (Ex. E), IPR2020-00522, pp. 25-28
 9         can be integrated to
           serve as a reservoir,       “Regarding the reservoir, Duan discloses a structure formed by an
10         i.e., a single receptacle   accommodation chamber 21, cap 3, and cooling plate 1 configured to
           defining a fluid flow       pass cooling liquid there-through. . . . These components together
11         path.                       form the claimed reservoir. . . . Duan’s accommodation chamber 21
                                       (of which the interior is colored lime green), cap 3 (light blue), and
12                                     cooling plate 1 (dark blue) form the physical boundaries of a housing
13                                     the discloses the claimed “reservoir.” . . . Thus, these components are
                                       described to be integrated to serve as a single receptacle defining a
14                                     fluid flow path. This is explained in greater detail below with respect
                                       to the remaining elements that further defined the claimed
15                                     ‘reservoir.’” (Emphases added.)
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       Although Defendants’ IPR expert initially testified, and during redirect after discussions with
24   Defendants’ counsel, that he would not consider Shin to have a “reservoir” or “single receptacle,”
     see Ex. K at 36:4-7 and 81:1-16, when he was confronted with his declaration in the IPR against
25   Asetek’s ’354 patent, he backtracked and admitted that he in fact disclosed Shin as having the
     claimed “reservoir” in the ’354 patent IPR, that he had not reviewed his declaration for the ’354
26   patent IPR before testifying about the ’355 patent IPR, and that “reservoir” means the same for both
     patents, see id at 54:16-57:5.
27
     5
       Unlike Defendants, Asetek is not seeking collateral estoppel. Asetek is only asking that Defendants
28   be judicially estopped — which need not be pled as an affirmative defense — from taking non-
     infringement position that are clearly inconsistent from invalidity positions taken in the IPRs,
                                                                                                        STIPULATION
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11                      Id. at 26 (showing Duan’s alleged “reservoir”)

12                      PTAB Final Written Decision (Ex. F), IPR2020-00522, p. 23
13                      “We have reviewed Petitioner’s contentions and for the reasons set
14                      forth by Petitioner, determine that Petitioner has shown Duan
                        anticipates claim 1 by a preponderance of the evidence. See Pet. 21–
15                      58.”

16                      Petition (Ex. G), IPR2020-00523, p. 11
17                      “Batchelder discloses a reservoir (e.g., active spreader plate 20)
                        configured to circulate a cooling liquid therethrough . . .
18                      This active spreader plate 20 is a single, unitary receptacle and
19                      defines a fluid flow path (60).” (Emphases added.)

20                      Id. at pp. 12-14 (“Shin also discloses a reservoir (e.g., an integrated
                        structure) for providing liquid cooling of computing components . . .
21                      a POSITA would understand that Shin discloses a reservoir (e.g., a
                        receptacle containing a heat sink 4, flexible hose 6, coolant
22                      discharge section coupler 7, water supply coupler 9, and impeller
23                      case 11) configured to circulate a cooling liquid therethrough.”)
                        (Emphases added.)
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                                                                                            STIPULATION
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                        Id. at 15 (CoolIT’s annotations of Shin’s liquid cooler; the yellow
10                      portion (impeller case 11) is the alleged upper chamber and the blue
                        portion (heat sink 4) is the alleged lower chamber of the alleged
11
                        “reservoir” in Shin).
12
                        Id. at p. 18 (“Batchelder discloses a reservoir (e.g., a spreader plate
13                      20) that an includes an upper chamber (or compartment) as the space
                        below top surface 26 in FIG. 2 and the space below upper stamped
14                      plate 208 and channel forming sheet 210 in FIGS. 7 and 8.
                        Batchelder’s reservoir also includes a lower chamber (or
15                      compartment) as the flow channels 50, the space above lower surface
16                      24 in FIG. 2 and above upper stamped plate 204 in FIGS. 7 and 8.”
                        (Emphasis added.)
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                        Id. at 18 (showing Batchelder’s Fig. 7).
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                                                                                            STIPULATION
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 1                                 Batchelder (Ex. H), 7:23-8:12
 2                                 Batchelder describes that heat spreader plate 20 is formed by multiple
                                   sheets (202, 204, 206, 208, 210 and 212) that are “designed to be
 3
                                   stamped from sheets and subsequently assembled with adhesives,
 4                                 ultrasonic bonding, solvent bonding, or welding. Those skilled in the
                                   art will recognize that the individual components of the active
 5                                 spreader plate could be molded, and that several of the described
                                   components can be functionally combined if the components are
 6                                 molded.” (Emphasis added.)
 7

 8                                 PTAB Final Written Decision (Ex. I), IPR2020-00523, p. 11

 9                                 “Claim 1 requires both an ‘upper chamber’ and a ‘lower chamber,’
                                   which Petitioner maps to the flow channels on the top and bottom of
10                                 Batchelder’s active spreader plate, respectively. Pet. 16–18 (showing
11                                 annotated versions of Batchelder’s Figures 2, 7, and 8).”

12                                 Id. at 19-20 (“We have reviewed the record, including both parties’
                                   contentions and evidence, and conclude that Petitioner has shown by a
13                                 preponderance of the evidence that the combination of Batchelder and
                                   Shin discloses the limitations of claim 1, and that skilled artisans
14                                 would have had reason to make the combination as asserted, with a
15                                 reasonable expectation of success.”).

16

17          Asetek disagrees with Defendants’ counsel that the chart above is not appropriate or should

18   not be considered as part of this Joint Statement. Defendants’ estoppel arguments must be

19   considered in light of Defendants’ contradictory positions in the IPRs. If the Court decides the scope

20   of estoppel now without the benefit of additional briefing by the parties to explain the relevant

21   context of prior statements, then the Court should also use its inherent discretion to preserve the

22   integrity of the judicial process by prohibiting Defendants from taking positions that are clearly

23   inconsistent with the positions taken in the IPRs to invalidate Asetek’s patents.

24
                                                   Respectfully submitted,
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                                                                                                         STIPULATION
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                                                                                            STIPULATION
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                                             47                            CASE NO. 3:19-CV-00410-EMC
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10                                           ATTESTATION

11          Counsel for CoolIT Systems, Inc. hereby attests by his signature below that concurrence in

12   the filing of this document was obtained from counsel for Asetek Danmark A/S.

13

14   Dated: November 23, 2021                    FINNEGAN, HENDERSON, FARABOW,
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16                                               By:      /s/ Reuben H. Chen
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